

Matter of Botton (2023 NY Slip Op 02309)





Matter of Botton


2023 NY Slip Op 02309


Decided on May 3, 2023


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 3, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

HECTOR D. LASALLE, P.J.
MARK C. DILLON
COLLEEN D. DUFFY
BETSY BARROS
ANGELA G. IANNACCI, JJ.


2022-01855

[*1]In the Matter of Michael Botton, an attorney and counselor-at-law. (Attorney Registration No. 3003670)



The respondent was admitted to the Bar in the State of New York at a term of the Appellate Division of the Supreme Court in the Third Judicial Department on November 30, 1999. By order to show cause dated April 14, 2022, this Court directed the respondent to show cause why an order should not be made and entered pursuant to 22 NYCRR 1240.13 imposing discipline upon him for the misconduct underlying the discipline imposed by an order of the Supreme Court of New Jersey filed November 18, 2021.



Diana Maxfield Kearse, Brooklyn, NY (David W. Chandler of counsel), for Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts.



PER CURIAM.


OPINION &amp; ORDER
By order of the Supreme Court of New Jersey filed November 18, 2021, the respondent was disbarred by consent, effective immediately, his name was stricken from the roll of attorneys, and he was permanently restrained and enjoined from practicing law in that state. The order was predicated on a matter pending against the respondent under Docket No. XIV-2021-0156E and on the respondent's "Disbarment by Consent from the Bar of the State of New Jersey," sworn to by the respondent on November 2, 2021. In the consent, the respondent stated that he consulted with counsel prior to completing the form and that his consent to disbarment was knowingly and voluntarily made. The respondent further stated that he was aware of the allegations against him of "knowing misappropriation of estate funds." He acknowledged that the allegations were true, and that if he went to a hearing on the matter, he could not successfully defend himself against those allegations.
Although a copy of this Court's order to show cause dated April 14, 2022, was served on the respondent by mail on April 22, 2022, he failed to either file a response or to request additional time in which to do so.
Accordingly, based on the findings of the Supreme Court of New Jersey, we find that the imposition of reciprocal discipline is warranted, and effective immediately, the respondent is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law.
LASALLE, P.J., DILLON, DUFFY, BARROS and IANNACCI, JJ., concur.
ORDERED that pursuant to 22 NYCRR 1240.13, the respondent, Michael Botton, is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law; and it is further,
ORDERED that the respondent, Michael Botton, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see id.  § 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, the respondent, Michael Botton, shall desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that if the respondent, Michael Botton, has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency, and the respondent shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Maria T. Fasulo
Clerk of the Court








